Hearing shall be held on 7/30/2018 at 10:00 AM in Austin Courtroom
1. Movant is responsible for notice.




IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: July 27, 2018

                                               ________________________________________
                                                            TONY M. DAVIS
                                                  UNITED STATES BANKRUPTCY JUDGE
______________________________________________________________



                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


In re                                            §
                                                 §
RONCO HOLDINGS, INC.,                            §            CASE NO. 18-10511-TMD
                                                 §
                       Debtor.                   §                   Chapter 11

                         ORDER SETTING STATUS CONFERENCE

        This matter comes before the Court on Ronco Holdings, Inc.¶V Request for Status

Conference WKH ³Request´. The Court, having considered the Request, finds that it should be

granted on the terms set forth herein.

        ACCORDINGLY, IT IS HEREBY ORDERED that a status conference is set for the

date and time set forth above. The Debtor shall be responsible for notice to all necessary parties

and shall file a certificate of service reflecting such service of notice within 24 hours of entry of

this order.

                                               ###




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Order Submitted by:

Kell C. Mercer, Esq.
Kell C. Mercer, PC
1602 E. Cesar Chavez Street
Austin, Texas 787802
(512) 767-3214
COUNSEL FOR THE DEBTOR




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                                               United States Bankruptcy Court
                                                 Western District of Texas
In re:                                                                                                     Case No. 18-10511-tmd
Ronco Holdings, Inc.                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0542-1                  User: boydl                        Page 1 of 1                          Date Rcvd: Jul 27, 2018
                                      Form ID: pdfintp                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 29, 2018.
db             +Ronco Holdings, Inc.,   15505 Long Vista Drive, Suite 250,   Austin, TX 78728-3833

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 29, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 27, 2018 at the address(es) listed below:
              Brian Talbot Cumings    on behalf of Creditor Ron Satija bcumings@gdhm.com, krisinger@gdhm.com
              Caitlin C. Conklin    on behalf of Creditor    Capital 2 Thrive, LLC
               caitlin.conklin@leclairryan.com, joy.vanderweert@klgates.com
              Cassandra A. Shoemaker    on behalf of Creditor    Kaonolulu Ranch, LLLP
               cassandra.shoemaker@tklaw.com, dannette.johnson@tklaw.com;Nashira.Parker@tklaw.com
              Daniel M. Eliades    on behalf of Creditor    Capital 2 Thrive, LLC Daniel.eliades@klgates.com,
               caitlin.conklin@klgates.com
              Jason Matthew Medley    on behalf of Creditor    Capital 2 Thrive, LLC jason.medley@leclairryan.com,
               robert.gee@leclairryan.com
              Kay D. Brock    on behalf of Creditor    Travis County bkecf@traviscountytx.gov,
               kay.brock@traviscountytx.gov
              Kell C. Mercer    on behalf of Debtor    Ronco Holdings, Inc. kell.mercer@mercer-law-pc.com
              Laura L. Worsham    on behalf of Creditor    P2Binvestor Inc. lworsham@jonesallen.com,
               lmenton@jonesallen.com
              Rachel R Obaldo    on behalf of Creditor    Texas Comptroller of Public Accounts
               bk-robaldo@oag.texas.gov, sherri.simpson@oag.texas.gov
              United States Trustee - AU12    ustpregion07.au.ecf@usdoj.gov
                                                                                               TOTAL: 10
